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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARINA CUAUTLE ,                              )
                                              )
                       Plaintiff,             )      Case No. 12 C 8034
                                              )
               v.                             )      Hon. Judge John Z. Lee
                                              )
HARRAH’S ILLINOIS                             )      Magistrate Judge Jeffrey Cole
CORPORATION,                                  )
                                              )
                       Defendant.             )

                                             ORDER

        Plaintiff Marina Cuautle (“Cuautle”) brought suit against Defendant Harrah’s Illinois
Corporation (“Harrah’s”) for violations of Title VII of the Civil Rights Act of 1964 (“Title VII”)
and 42 U.S.C. § 1981 of the Civil Rights Act of 1866 and the Family and Medical Leave Act
(“FMLA”). Harrah’s moved to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), claiming that
Cuautle’s complaint is untimely and that she failed to exhaust her administrative remedies.
Specifically, Harrah’s contends that (a) Cuautle’s Title VII is untimely as it was filed after the
expiration of the 90-day filing period; (b) Cuautle’s FMLA claims should be dismissed because
they were filed after the two-year statute of limitations expired; and (c) to the extent Cuautle is
asserting retaliation or hostile environment claims, she has failed to exhaust her administrative
remedies because they were not part of her EEOC charge.
        Harrah’s motion is denied, as it is premised upon affirmative defenses that are not proper
grounds for a Rule 12(b)(6) motion. See Xechem, Inc. v. Bristol-Myers Squibb Co., 372 F.3d
899, 901 (7th Cir. 2004) (“[o]rders under Rule 12(b)(6) are not appropriate responses to the
invocation of defenses, for plaintiffs need not anticipate and attempt to plead around all potential
defenses.”); United States v. N. Trust Co., 372 F.3d 886, 888 (7th Cir. 2004) (Easterbrook, J.)
(the task of “resolving defenses comes after the complaint stage.”); see also Salas v. Wis. Dep’t
of Corrs., 493 F.3d 913, 921-22 (7th Cir. 2007) (in Title VII case, failure to exhaust
administrative remedies is affirmative defense); Leavell v. Kieffer, 189 F.3d 492, 494 (7th Cir.
1999) (Easterbrook, J.) (statute of limitations is affirmative defense). Only if the Court
concludes that Cuautle has pleaded herself out of court, should Harrah’s motion be granted.
Xechem, 372 F.3d at 901; see also Foss v. Bearns, Stearns & Co., Inc., 394 F.3d 540, 542 (7th
Cir. 2005) (“[u]nless the complaint alleges facts that create an ironclad defense, a limitations
argument must await factual development.”). This is a high hurdle for Harrah’s, given that it
bears the burden of proving that Cuautle’s suit was untimely and that she failed to exhaust, see,
e.g., Prince v. Stewart, 580 F.3d 571, 574 (7th Cir. 2009), and that Cuautle is not required to
plead around these defenses in her complaint. See, e.g., Xechem, 372 F.3d at 901; Leavell v.
Kieffer, 189 F.3d at 494 (“Complaints need not anticipate or plead around affirmative
defenses.”).
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         Here, Cuautle has not pleaded herself out of court because she does not affirmatively
allege facts that establish that: (a) she failed to file suit within the statute of limitations; (b) if the
statute of limitations has elapsed, the statute was not equitably tolled in some manner; and (c)
she failed to exhaust her administrative remedies as to her retaliation and hostile environment
claims. As to this final point, although Cuautle did not check all of the boxes on her EEOC
charge, her claims still sound in retaliation and hostile environment, as she alleges that she
complained about her supervisor, who then treated her unfairly, charged her with
insubordination, and eventually terminated her, while others of a different race were not treated
in this fashion. This is sufficient to survive Harrah’s motion because “the EEOC charge and the
complaint . . . at a minimum, describe the same conduct and implicate the same individuals.”
Cheek v. Western and Southern Life Ins. Co., 31 F.3d 497, 500 (7th Cir. 1994).
         For the foregoing reasons, Harrah’s motion to dismiss [7] is denied.


Date: July 18, 2013                                                       /s/ John Z. Lee
